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                                     IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                             WAYCROSS DIVISION     2011 DEC -7 AM 8: 40

                                                                          CLERKJ
                                                                             SO. D?ST. OF GA.


              JERIMEY WAYNE GIBSON,
                                    Petitioner,                      CIVIL ACTION NO.: CV511-085
                             V.


              UNITED STATES OF AMERICA,                              (Case No.: CR509-.13)
                                    Respondent.


                                                      ORDER

                       After an independent review of the record, the Court concurs with the Magistrate
              Judge's Report and Recommendation, to which no objections have been filed. Accordingly,
              the Report and Recommendation of the Magistrate Judge is adopted as the opinion of the
              Court.
                       Respondent's Motion to Dismiss is GRANTED. The Motion to Vacate, Set Aside, or
              Correct his Sentence, filed pursuant to 28 U.S.C. § 2255, is DISMISSED. The Clerk of Court
              is hereby authorized and directed to enter an ap     riate Judgment of Dismissal.
                       80 ORDERED, this           day of_____                         2011.




                                                              LISA GODBY WOOD, CHIEF JUDGE
                                                              UNITED. STATES DISTRICT COURT
                                                              SOUTHERN DISTRICT OF GEORGIA




AO 72A
(Rev. 8182)
